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 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                         ) Case No.: CR.S. 07-056 LKK
     United States of America,             )
 9                                         ) STIPULATION AND ORDER TO CONTINUE
                   Plaintiff,              ) SENTENCING HEARING
10                                         )
             vs.                           ) Court: Hon. LAWRENCE K. KARLTON
11                                         ) Time:   9:30 a.m.
                                           ) Date:   January 8, 2007
12   Natosha Saunders, et.al.              )
                                           )
13                 Defendants
14

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16           Natosha Saunders pled guilty to Count Five of a seven count
17   indictment, to a violation of 18 U.S.C. 18 U.S.C. § 1030(a)(4) – Fraud
18   and Related Activity in Connection with Computers.
19           Ms. Saunders is currently scheduled to be sentenced on January 8,
20   2008.    The probation office needs additional time to interview Ms.
21   Saunders and prepare a report.     The parties request that the matter be
22   calendared for judgment and sentencing on March 4, 2008, if that date
23   is available with the Court.     The parties request the following
24   schedule:
25   Draft Pre-sentence report:                  January 28, 2008
26   Objections:                                 February 11, 2008
27   Final Report:                               February 18, 2008
28   ///




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 1   J & S:                                      March 4, 2008

 2
     Dated: January 7, 2008              Respectfully submitted,
 3

 4
                                         __/s/ Shari Rusk___
 5
                                         Shari Rusk
                                         Attorney for Defendant
 6                                       Natosha Saunders

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 8
     Dated: January 7, 2008             __/s/_ Robin Taylor________
 9                                     /s/ Robin Taylor
                                      Assistant United States Attorney
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12
                                         ORDER

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          IT IS SO ORDERED.

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     DATED: January 7, 2008
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